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                              UN ITED STA TES DISTR IC T C O UR T
                              SO U TH ER N DISTR IC T O F FLO R ID A

                            CA SE N O .18-81356-CV -M lD D LEBR OO K S

  LEON ARD POZN ER ,

          Plaintiff,



  CITY o y D ELM Y BEA CH FLO RID A ,and
  RH EA -L> G ERSTEN K OR'
                         N
                                  ,


          D efendants.
                                                     /

                         O R D ER O N PLM NTIFF'S M O TIO N TO DISM ISS
          TH IS CA U SE com es before the Court upon Plaintiff s M otion for Dism issal,filed on

   May 23,2019. (DE 36). Through the M otion,Plaintiff seeks an order of dismissalwith
  prejudice that directs each party to bear its own fees and costs and to return a1ldiscovery
   m aterials produced by Plaintiff dudng discovery. The M otion indicates that Rhea-layn

   Gerstenkorn, the sole remaining Defendant in this matter, opposes the relief requested.

   Defendant Gerstenkorn filed a response in opposition to the M otion, clarifying that while she

   doesnotopposedismissal,sheobjectson thebasisthatsheintendsto seek an awardoftaxable
   coststmderFed.R.Civ.P.54and28U.S.C.j 1920,aswellasattorney'sfeestmder28U.S.C.j
   1927.(DE 38).
          Rule 41(a)(2)allows a plaintiff,with the approvalofthe court,to dismiss an action
   voltmtarily lsontermsthatthecourtconsidersproper.''SeeFed.R.Civ.P.41(a)(2). ûûglqnmost
   casesa dismissalshouldbeg'
                            ranted lmlessthedefendantwillsufferclearlegalprejudice,other
   than the mereprospectofasubsequentlawsuit,asaresult.'' Mccantsv.Ford MotorCo.,781
   F.2d 855,85* 57(11th Cir.1986)(emphmsissupplied)(citing fecomptev.Mr.Chip,Inc.,528
   F.2d 601,604(5th Cir.1976)).
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          Aside from the issue of costs and fees,it does notappear that Defendant Gerstenkom

   standsto sufferlegalprejudice from dismissalwith prejudice attllisjtmcture. Accordingly,I
   will g'
         rant Plaintiffs Motion in partand retain judsdiction forthe purpose of adjudicating
   DefendantGerstenkorn'sentitlementto feesand costs. W hileprelim inary analysissuggeststhat

   such entitlementistmlikely,DefendantGerstenkorn shallbe permittedto promptly m oveforthe

   reliefshe seeks.

          A ccordingly,itis

          O R DER ED and AD JU D G ED that:

          (1)Plaintiff'sMotionforDismissal(DE 36)isGRANTED IN PART.
          (2)Theabove-styled actionisDISM ISSED W '
                                                  ITH PREJUDICE.
          (3)ThisCourtreservesjurisdictiontoadjudicateDefendantGerstenkorn'sentitlementto
             feesand costs. Judsdiction w illbe reserved fora period of six m onths.

          (4)Defendants are DIRECTED to return the materials produced by Plaintiff in the
             course ofdiscovery. To the extentthatpublic records lawspreventDefendantsfrom

             returning PlaintiY s discovery m atedals, Defendants are directed to R EDA CT

             Plaintiff's address from a11responses to public records requests.

          (5)The Clerk ofCourtshallCLOSE this CASE and DENY a1lpending motionsAS
             M O O T.

          SIG NED in Cham bers atW estPalm Beach,Florida,this           a ofM ay,2019.




                                                      D ON A LD M .M ID D LEBR OO K S
                                                      UN ITED STATES D ISTRICT JUD G E

          Cotm selofRecord


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